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 1   Babak Hashemi, Esq. (State Bar No. 263494)
     LAW OFFICES OF BABAK HASHEMI, ESQ
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 464-8529
 4   BabakHashemiLaw@gmail.com
 5   Attorney for Plaintiff: PATRICIA FILARDI
 6

 7                            UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9

10                                             Case No.
      PATRICIA FILARDI, an individual,
11                                             Complaint For Damages And
12              Plaintiff,                     Injunctive Relief For:

13    v.                                        1. VIOLATIONS OF THE
14                                                 AMERICANS WITH DISABILITIES
                                                   ACT OF 1990, 42 U.S.C. §12181 et
15    DUCKETT-WILSON                               seq. as amended by the ADA
      DEVELOPMENT COMPANY; a                       Amendments Act of 2008 (P.L. 110-
16
      California corporation; ALTA                 325).
17    LOMA CENTER; a business entity
      of unknown form; and DOES 1-10,           2. VIOLATIONS OF THE UNRUH
18
      inclusive,                                   CIVIL RIGHTS ACT, CALIFORNIA
19                                                 CIVIL CODE § 51 et seq.
                 Defendants.
20

21         Plaintiff, PATRICIA FILARDI (“Plaintiff”), complains of Defendants

22   DUCKETT-WILSON DEVELOPMENT COMPANY, a California corporation;

23   ALTA LOMA CENTER, a business entity of unknown form; and Does 1-10

24   (“Defendants”) and alleges as follows:

25                                          PARTIES

26   1.    Plaintiff is an adult quadriplegic who uses a wheelchair for mobility. She has

27   a specially equipped van with a ramp that deploys out of the passenger side of her

28   van. Plaintiff is substantially limited in performing one or more major life activities,

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 1   including but not limited to: walking, standing, sleeping, ambulating, and grasping
 2   objects. Plaintiff requires the use of a wheelchair at all times for mobility and life
 3   functions. With such disabilities, Plaintiff qualifies as a member of a protected class
 4   under the Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the
 5   ADA Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 6   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 7   Plaintiff’s visits to Defendants’ facility and prior to instituting this action, Plaintiff
 8   suffered from a “qualified disability” under the ADA, including those set forth in
 9   this paragraph. Plaintiff has a Disabled Person Parking Placard issued to her on a
10   permanent basis.
11   2.    Plaintiff is informed and believes and thereon alleges that ALTA LOMA
12   CENTER, owned, controlled and/or operated the property located at 9694 Baseline
13   Rd., Rancho Cucamonga, CA 91701 (“Subject Property”) where Dairy Queen
14   Orange Julius (“Business”) is located on or about September 6, 2019 and continues
15   to do so currently.
16   3.    Plaintiff is informed and believes and thereon alleges that DUCKETT-
17   WILSON DEVELOPMENT COMPANY, owned, controlled and/or operated the
18   Subject Property where the Business is located on or around September 6, 2019 and
19   continues to do so currently.
20   4.    Plaintiff does not know the true names of Defendants, their business
21   capacities, their ownership connection to the Subject Property and Business, or their
22   relative responsibilities in causing the access violations herein complained of, and
23   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
24   informed and believes that each of the Defendants herein, including Does 1 through
25   10, inclusive, is responsible in some capacity for the events herein alleged, or is a
26   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
27   when the true names, capacities, connections, and responsibilities of the Defendants
28   and Does 1 through 10, inclusive, are ascertained.
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                                             COMPLAINT
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 1                                          JURISDICTION AND VENUE
 2   5.         This Court has subject matter jurisdiction over this action pursuant to 28
 3   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 4   6.         This court has supplemental jurisdiction over Plaintiff’s non-federal claims
 5   pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act, California
 6   Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s federal ADA
 7   claims in that they have the same nucleus of operative facts and arising out of the
 8   same transactions, they form part of the same case or controversy under Article III
 9   of the United States Constitution.
10   7.         Venue is proper in this court pursuant to 28 U.S.C. §1391 because the real
11   property which is the subject of this action is located in this district and because
12   Plaintiff's causes of action arose in this district.
13                                            FACTUAL ALLEGATIONS
14   8.         On or about September 6, 2019 Plaintiff visited the Business located on the
15   Subject Property for the dual purpose of purchasing a beverage and to confirm that
16   this public place of accommodation is accessible to persons with disabilities within
17   the meaning federal and state law1.
18   9.         The Business is a facility open to the public, a place of public accommodation,
19   and a business establishment.
20   10.        Parking spaces and accessible routs are some of the facilities, privileges, and
21   advantages reserved by Defendants to persons at the Subject Property serving the
22   Business.
23   11.        Unfortunately, although parking and accessible routs were some of the
24   facilities reserved for patrons, there were no designated parking or accessible routs
25   available for persons with disabilities that complied with the 2010 Americans with
26   Disabilities Act Accessibility Guidelines (“ADAAG”) on September 6, 2019 or at
27   any time thereafter up to and including, the date of the filing of this complaint.
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         Plaintiff is a tester in this litigation and a consumer who wishes to access Defendants' goods and services.
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                                                             COMPLAINT
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 1   12.      The Subject Property and Business lack architectural barrier free facilities for
 2   patrons with disabilities, causing Plaintiff to encounter the following barriers at the
 3   Business and Subject Property: (1) there is no ADASAD compliant accessible
 4   parking or van accessible parking spaces in the parking lot as required by Section
 5   502; (2) there is no ADASAD compliant accessible or van accessible parking
 6   signage in violation of Section 502.6; (3) the accessible parking spaces are not
 7   located on the shortest accessible route to the entrance per Section 208.3.1.2
 8   13.      Subject to the reservation of rights to assert further violations of law after a
 9   site inspection found infra, Plaintiff asserts there are additional ADA violations
10   which affect her personally.
11   14.      Plaintiff is informed and believes and thereon alleges Defendants had no
12   policy or plan in place ensuring there was compliant accessible parking, access
13   routes and restrooms reserved for persons with disabilities prior to September 6,
14   2019 and do not currently have a policy or plan in place to ensure that the designated
15   disabled parking and/or access routes for persons with disabilities comport with the
16   ADAAG.
17   15.      Plaintiff personally encountered these barriers. The presence of these barriers
18   related to Plaintiff’s disability denies Plaintiff her right to enjoy accessible
19   conditions at public place of accommodation and invades legally cognizable
20   interests created under the ADA.
21   16.      The conditions identified supra in paragraph 12 are necessarily related to
22   Plaintiff’s legally recognized disability as quadriplegic who uses a wheelchair for
23   mobility in is substantially limited in the major life activities of walking, standing,
24
     2
25     Parking spaces complying with 502 that serve a particular building or facility shall be located on the shortest accessible
     route from parking to an entrance complying with 206.4. Where parking serves more than one accessible entrance,
     parking spaces complying with 502 shall be dispersed and located on the shortest accessible route to the accessible
26   entrances. Here, several non-compliant accessible parking spaces are clustered together in the center of the mall but none
     are located anywhere near the Business; and there are no accessible routes connecting the parking near this facility to
27   the main entrance or elements within the facility as required by Section 206.2.2 which requires that at least one accessible
     route shall connect accessible buildings, accessible facilities, accessible elements, and accessible spaces that are on the
28   same site, and 206.1 requiring access to the site arrival point (main entrance) from the public street.
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                                                           COMPLAINT
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 1   ambulating, and/or grasping objects; Plaintiff is the holder of a disabled parking
 2   placard; and the enumerated conditions relate to her ability to use the accessible
 3   parking, the slope and condition of the accessible parking and accessible path to the
 4   accessible entrance, and proximity of the accessible parking to the accessible
 5   entrance.
 6   17.        As an individual with a mobility disability who at times is dependent upon
 7   various mobility devices, Plaintiff has a keen interest in whether public
 8   accommodations have architectural barriers that impede full accessibility to those
 9   accommodations by individuals with mobility impairments.
10   18.        Plaintiff’s ability to fully and equally enjoy the Property was interfered with
11   as a result of Defendants’ non-compliance with the ADA.
12   19.        Plaintiff is was and continues to be deterred from patronizing the Business
13   and its accommodations on particular occasions, but intends to return to the Business
14   for the dual purpose of availing herself of the goods and services offered to the public
15   and to ensure that the Business ceases evading its responsibilities under federal and
16   state law.
17   20.        Upon being informed that this public place of accommodation has become
18   fully and equally accessible, she will return within 45 days as a “tester” for the
19   purpose of confirming its accessibility.3
20   21.        Until such time, Plaintiff is being deterred from patronizing the Business.
21   22.        As a result of her difficulty experienced because of the inaccessible condition
22   of the facilities of the Business, Plaintiff was denied full and equal access to the
23   Business and Property.
24   23.        The Defendant(s) has failed to maintain in working and useable conditions
25   those features required to provide ready access to persons with disabilities.
26   24.        The violations identified above are easily removed without much difficulty or
27   expense. They are the types of barriers identified by the Department of Justice as
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         Civil Rights Educ. and Enforcement Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
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                                                           COMPLAINT
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 1   presumably readily achievable to remove and, in fact, these barriers are readily
 2   achievable to remove. Moreover, Plaintiff is informed and believes there are
 3   numerous alternative accommodations that could be made to provide a greater level
 4   of access if complete removal were not achievable.
 5   25.      Given the obvious and blatant violation alleged hereinabove, Plaintiff alleges,
 6   on information and belief, that there are other violations and barriers in the site that
 7   relate to her disabilities. Plaintiff will amend the complaint, to provide proper notice
 8   regarding the scope of this lawsuit, once she conducts a site inspection. However,
 9   the Defendant(s) are on notice that Plaintiff seeks to have all barriers related to their
10   disabilities remedied.4
11   26.      Without injunctive relief, Plaintiff will continue to be unable to fully and
12   equally enjoy access to Defendants’ facilities in violation of Plaintiff’s rights under
13   the ADA.
14            FIRST CLAIM FOR VIOLATIONS OF THE AMERICANS WITH
15        DISABILITIES ACT OF 1990, 42 U.S.C. § 12181 et seq. as amended by the
16                            ADA Amendments Act of 2008 (P.L. 110-325)
17   27.      Plaintiff re-alleges and incorporates by reference all paragraphs alleged above
18   and each and every other paragraph in this Complaint necessary or helpful to state this
19   cause of action as though fully set forth herein.
20   28.      Under the ADA, it is an act of discrimination to fail to ensure that the privileges,
21   advantages, accommodations, facilities, goods, and services of any place of public
22   accommodation are offered on a full and equal basis by anyone who owns, leases, or
23   operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination
24   is defined, inter alia, as follows:
25                     a.       A failure to make reasonable modifications in policies, practices,
26                              or procedures, when such modifications are necessary to afford
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      See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff encounters one barrier at a site, he can
28   sue to have all barriers that relate to his disability removed regardless of whether he personally encountered them).
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                                                          COMPLAINT
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 1                       goods, services, facilities, privileges, advantages, or
 2                       accommodations to individuals with disabilities, unless the
 3                       accommodation would work a fundamental alteration of those
 4                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5                b.     A failure to remove architectural barriers where such removal is
 6                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 7                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 8                       Appendix "D".
 9                c.     A failure to make alterations in such a manner that, to the
10                       maximum extent feasible, the altered portions of the facility are
11                       readily accessible to and usable by individuals with disabilities,
12                       including individuals who use wheelchairs, or to ensure that, to
13                       the maximum extent feasible, the path of travel to the altered area
14                       and the bathrooms, telephones, and drinking fountains serving
15                       the area, are readily accessible to and usable by individuals with
16                       disabilities. 42 U.S.C. § 12183(a)(2).
17   29.   Any business that provides parking spaces must provide accessible parking
18   spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
19   Standards, parking spaces and access aisles must be level with surface slopes not
20   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
21   Standards, access aisles shall be at the same level as the parking spaces they serve.
22   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
23   required to be nearly level in all directions to provide a surface for wheelchair
24   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Specifically, built
25   up curb ramps are not permitted to project into access aisles and parking spaces. Id.
26   No more than a 1:48 slope is permitted. Standards § 502.4.
27   30.   Here, the failure to ensure that accessible facilities were available and ready
28   to be used by Plaintiff is a violation of law.
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                                             COMPLAINT
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 1   31.   A public accommodation must maintain in operable working condition those
 2   features of its facilities and equipment that are required to be readily accessible to
 3   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 4   32.   Given its location and options, Plaintiff will continue to desire to patronize
 5   the Business but he has been and will continue to be discriminated against due to
 6   lack of accessible facilities and, therefore, seek injunctive relief to remove the
 7   barriers.
 8   33.   Upon being informed that this public place of accommodation has become
 9   fully and equally accessible, Plaintiff will return within 45 days as a “tester” for the
10   purpose of confirming its accessibility.
11   SECOND CLAIM FOR VIOLATION OF THE UCRA, CALIFORNIA CIVIL
12                                     CODE § 51 et seq.
13   34.   Plaintiff re-alleges and incorporates by reference all paragraphs alleged above
14   and each and every other paragraph in this Complaint necessary or helpful to state
15   this Claim as though fully set forth herein.
16   35.   California Civil Code § 51 et seq. guarantees equal access for people with
17   disabilities to the accommodations, advantages, facilities, privileges, and services of
18   all business establishments of any kind whatsoever. Defendants are systematically
19   violating the UCRA, Civil Code § 51 et seq.
20   36.   Because Defendant(s) violate Plaintiff’s rights under the ADA, they also
21   violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
22   52(a).) These violations are ongoing.
23   37.   Defendants’ actions constitute discrimination against Plaintiff on the basis of
24   their individual disabilities, in violation of the UCRA, Civil Code § 51 et seq.
25   38.   Plaintiff is informed and believes and thereon alleges Defendant(s) have been
26   previously put on actual notice that its premises are inaccessible to Plaintiff as above
27   alleged. Despite this knowledge, Defendant(s) maintain the Property and Business
28   in an inaccessible form.
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                                            COMPLAINT
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 1                                          PRAYER
 2   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 3   follows:
 4         1.     A preliminary and permanent injunction enjoining Defendants from
 5   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
 6   51 et seq. with respect to its operation of the Business and Subject Property; Note:
 7   Plaintiff is not invoking section 55 of the California Civil Code and is not
 8   seeking injunctive relief under the Disable Persons Act at all.
 9         2.     An award of actual damages and statutory damages of not less than
10   $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000
11   for each time he visits an establishment that contains architectural barriers that
12   deny the Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco,
13   Inc. (2005) 431 F.Supp.2d 1088, 1091.)
14         3.     An additional award of $4,000.00 as deterrence damages for each
15   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
16   LEXIS 150740 (USDC Cal, E.D. 2016);
17         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
18   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
19                               DEMAND FOR JURY TRIAL
20         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
21   raised in this Complaint.
22

23   Dated: April 22, 2020       LAW OFFICES OF BABAK HASHEMI, ESQ.
24

25                                    By: /s/ Babak Hashemi, Esq.
                                         Babak Hashemi, Esq.
26                                       Attorney for Plaintiff
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                                            COMPLAINT
